         Case 1:16-cv-00745-ESH Document 86 Filed 03/29/18 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NATIONAL VETERANS LEGAL
 SERVICES, et al.,

                      Plaintiffs,
                                                    Civil Action No. 16-745 (ESH)
                        v.

 UNITED STATES OF AMERICA

                     Defendant.

                 DEFENDANT’S RESPONSE TO PLAINTIFF’S NOTICE

       On March 23, 2018, this Court held a hearing on the Parties’ cross-motions for summary

judgment. At the close of that hearing, the Court asked one discrete question for which Defendant

was invited to submit supporting authority. Specifically, counsel for Defendant and the Court had

discussed the sixteen examples of the House and Senate Appropriations Committees approving

the details of the Judicial Conference’s plans for using receipts from its Electronic Public Access

program. See 2d Skidgel Decl. Tabs 9–13 (ECF No. 81). As Defendant explained in its recent

Notice, this discussion was framed by an apparent difference between “appropriated funds” and

“non-appropriated funds,” with the Court asking whether members of the Appropriations

Committees engaged in less oversight over how an agency uses “non-appropriated funds” than

they do for planned uses of “appropriated funds.” ECF No. 84 at 1 n.1.

       As requested, Defendant responded to the Court’s request for such information “within 24

hours” by providing the Court with three pieces of information. First, Defendant noted that there

is no distinction between “appropriated funds” and “non-appropriated funds.” Rather, all such

funds are “appropriations.” See id. Second, Defendant provided the Court with several examples

from committee reports showing that the members of Appropriations Committees pay close
            Case 1:16-cv-00745-ESH Document 86 Filed 03/29/18 Page 2 of 5



attention to how fees (e.g., “non-appropriated funds”) are used. See id. Tabs A, D–G. In fact,

Defendant provided the Court with a recent committee report demonstrating that the House

Appropriations Committee is engaging in close oversight of exactly the questions underlying this

litigation—the permissible uses of PACER fees. See id. Ex. A. Third, Defendant provided the

Court with examples of enacted law demonstrating that Congress as a whole uses appropriations

acts to direct usage of fee receipts and also identifying the Appropriations Committees as the

appropriate body for oversight of how receipts from fees are used. See id. Exs. B–C.

       Although the Court did not invite an additional response, Plaintiffs filed a document styled

a “Response to Defendant’s Supplemental Authority.” See ECF No. 85. But a review of this filing

confirms that it is nothing of the sort. Rather, Plaintiffs filed what amounts to their own notice

rehashing substantive arguments and failing to address the lone question for which the Court

requested additional authority. The Court may cast aside Plaintiffs’ supplemental arguments on

that ground alone.

       But were the Court to consider these additional arguments, it is important to note that they

miss the mark.

       1.        Plaintiffs persist in their misunderstanding of what “expanded authority” means.

See ECF No. 85 at 1–2. As counsel for Defendant explained at the Motions Hearing, the Judicial

Conference files spending plans with the Appropriations Committees each year. See, e.g., 2d

Skidgel Decl. Tabs 9–13. These spending plans outline every project for which the Judicial

Conference plans to use receipts from the Electronic Public Access program fees. And as counsel

explained, none of the expenditures listed in those plans occurs until the Judicial Conference

receives approval from the Appropriations Committees. See id. Tabs 47–29; see also 1st Skidgel

Decl. Tabs L & M. The referenced “expanded authority,” as counsel for the Defendant explained,



                                                 2
               Case 1:16-cv-00745-ESH Document 86 Filed 03/29/18 Page 3 of 5



relates to these approvals and the Judicial Conference’s requests for approval by the

Appropriations Committees for new projects to offer electronic public access.

          Plaintiffs’ fixation on this notion that Defendant is asking the Court to conclude that

Appropriations Committees can “override statutory limits on the use of user fees” is misplaced.

See ECF No. 85 at 1; see also ECF No 79 at 10. Indeed, Defendant has explained that it relies on

these authorities not to “authorize a statutory violation,” but to provide “support for an

interpretation of statutory language.” See ECF No. 79 at 10. If anything, the most persistent gap

here is the fact that Plaintiffs have yet to offer a single explanation for why there are sixteen

examples of the Appropriations Committees agreeing with the Judicial Conference’s interpretation

of the E-Government Act and § 1913 note.                 As discussed previously, the Defendant has

harmonized the legislative history of § 1913 note, the E-Government Act, and the actions from

Congressional Committees since 2002; Plaintiffs have decided instead to act like none of it exists.

See ECF No. 79 at 10–11.

          2.       Plaintiffs again fail to recognize the simple fact that Congress has provided exactly

the “clear statement” that they contend is missing. As counsel for Defendant noted at the Motions

Hearing, the statutory language at issue in Rural Cellular Ass’n v. FCC, 685 F.3d 1083 (D.C. Cir.

2012),1 directed the Federal Communication Commission to develop “mechanisms to preserve and

advance universal service.” Id. at 1085 (emphasis added). And, when Congress has conferred

“decisionmaking authority upon agencies … with an intelligible principle,” the discussion of

“whether the assessment is deemed a tax is of no real moment.” Id. at 1091. It is beyond dispute

that a Congressional directive to develop “mechanisms to preserve and advance universal service”

is less clear of a statement than the statutory language at issue in this matter, which authorizes the


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    In their Response, Plaintiffs errantly refer to an earlier Rural Cellular decision.

                                                     3
            Case 1:16-cv-00745-ESH Document 86 Filed 03/29/18 Page 4 of 5



Judicial Conference to charge “reasonable” fees “only to the extent necessary” for the Electronic

Public Access Program. 28 U.S.C. § 1913 note.2

       Moreover, the fact that Congress determined that the Judicial Conference may provide fee

waivers only serves to confirm that Congress was specifically contemplating a program where

PACER users would pay fees that supported more than only the cost of providing that specific user

with access to the documents requested. As Defendant has already explained, Congress created a

system whereby PACER fees may be used to “inure directly to the benefit” of others, including

those who are accessing the records without charge. ECF No. 79 at 7. In fact, Plaintiffs reliance

on fees charged in the FOIA context only highlights the fact that Congress knows how to limit an

authorization to charge fees. See ECF No. 85 at 3. While FOIA provides that fees may be charged

only for the “direct costs of search, duplication, or review,” 5 U.S.C. § 552(a)(4)(A)(iv), § 1913

provides no such “direct costs” language.

       3.       Plaintiffs’ final argument relates to discovery. Through this, Plaintiffs appear to

walk back their position that PACER fees may not be used to fund CM/ECF. But Plaintiffs have

not been shy to date about their position that CM/ECF may not be supported with PACER fees.

See, e.g., ECF No. 52 at 3–4 (stating that there was “no statutory authority or legal reasoning” to

support the Judicial Conference’s plan to use PACER fees for CM/ECF); id. at 19 (“the principles

we have laid out strongly indicated that CM/ECF and its associated costs may not be funded with

PACER fees”).




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  Plaintiffs also suggest that the Rural Cellular decision is irrelevant because it “did not involve
user fees at all.” ECF No. 85 at 2. But it should be noted that the paragraph Defendant quoted
addresses this exact question—whether the FCC was assessing a tax absent clear delegation or was
assessing a fee. See Rural Cellular Ass’n, 685 F.3d at 1091.

                                                 4
        Case 1:16-cv-00745-ESH Document 86 Filed 03/29/18 Page 5 of 5



March 29, 2018                     Respectfully submitted,

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